1. It is always the duty of this court, with or without motion, to consider the question of its jurisdiction in all cases in which there may be any doubt as to the existence of such jurisdiction; and the present case is one calling for such inquiry.
2. A proceeding to confirm and validate revenue-anticipation certificates is a case which falls within the jurisdiction of the Court of Appeals, but when such proceedings involve a construction of a constitutional provision or the constitutionality of a statute is drawn in question the Supreme Court has jurisdiction.
(a) The Court of Appeals and not the Supreme Court has jurisdiction of a case involving a mere application, in a general sense, of unquestioned and unambiguous provisions of the Constitutions of this State and of the United States.
(b) An allegation that an act of the General Assembly of 1937 is unconstitutional insofar as it might permit the creation of a water district within another water district, and the issuance of certificates to be paid from proceeds derived from the sale of water in the newly created district because it will impair the obligation of existing contractual rights, is too vague and indefinite to draw into question the validity of the act or any part thereof.
3. Section 87-304 of the Code, providing that a dissatisfied party in a proceeding to confirm and validate bonds may have such a judgment reviewed by the Supreme Court, and section 13 of the act of 1937 (Ga. L. 1937, pp. 761, 771), providing similarly as to a proceeding to validate revenue-anticipation certificates issued under that act, if such provisions were originally valid, were superseded by the Constitution of 1945, defining the jurisdiction respectively of the Supreme Court and Court of Appeals.
4. The present case is one falling within the jurisdiction of the Court of Appeals.
                      No. 15562. SEPTEMBER 5, 1946.
The Solicitor-General of the Cherokee Judicial Circuit brought a proceeding in Dade County Superior Court against the City of Trenton to confirm and validate an issue of water-revenue-anticipation certificates and the security for the payment thereof, which *Page 242 
the City of Trenton desired to issue and sell. The defendant admitted all of the allegations in the petition. Cason Nichols intervened and objected to a judgment of confirmation and validation of the certificates and the security for the payment thereof. His intervention as amended for grounds of objection alleged: That on March 26, 1946, he purchased from Dade County water district an issue of water-district-revenue-anticipation certificates in the sum of $160,000, which had been confirmed and validated; and, as sole security for the payment thereof, the net proceeds to be derived from the sale of all water in the Dade County water district were pledged. He was the owner of the certificates and would be entitled to receive them when formally issued. All territory located in the north end of Dade County, as well as the corporate limits of the City of Trenton, had been designated as Dade County water district. He relied upon the action of the governing authority of Dade County and the order of the court confirming as security for the payment of the certificates the net proceeds to be derived from the sale of all water in the Dade County water district, which included the City of Trenton. Without the security derived from the sale of water in the City of Trenton, his investment would have been unsafe and unsound, and in his purchase of the certificates he relied upon that security. He would not have purchased the certificates except for the fact that the revenue from the entire territory was pledged as security. He had acquired an exclusive property right to the revenue to be derived from a sale of water in all of the territory embraced in the Dade County water district by virtue of the action of Dade County and the order of confirmation and validation. To confirm and validate the certificates which the City of Trenton desired to issue, would violate the fourteenth amendment to the Constitution of the United States (Code, § 1-815), which provides, "Nor shall any State deprive any person of life, liberty or property without due process of law," and the Constitution of Georgia (Code, § 2-103), which provides: "No person shall be deprived of life, liberty, or property except by due process of law."
It was further alleged: "The above-stated provisions are violated in that the attempted action of the City of Trenton to establish a water district within the same territory as is included within the Dade County water district would deprive your petitioner of the *Page 243 
above-stated exclusive property right to the revenue derived from the sale price and net proceeds of the sale of water within that part of Dade County water district which includes the City of Trenton, as security for his investments; said security having been in existence at the time your petitioner contracted with Dade County water district; and that, for the above-stated reasons, the attempts of any one person or group, or any organization, public or private, of any kind whatsoever, to create an additional water district in territory [in] which your petitioner had purchased the existing security for said certificates of the Dade County water district, is null, void, unconstitutional and of no effect." The attempted validation of the City of Trenton certificates should be denied, because the territory within the corporate limits of the City of Trenton is already included in the boundaries of the Dade County water district, and the confirmation and validation of the certificates would interfere with existing contract rights and impair the obligations of the contract that Dade County made with him, all in violation of paragraph 2, section 3, of the Constitution of Georgia of 1945, which provides: "No bill of attainder, ex post facto law, retroactive law, or law impairing the obligation of contracts, or making irrevocable grants of special privileges or immunities, shall be passed." The attempt to confirm and validate the City of Trenton certificates would destroy existing contractual rights which he had with Dade County. The State of Georgia is without authority to pass a law impairing the obligation of a contract; and for all of these reasons the act of 1937 is unconstitutional in so far as it might permit the creation of a water district by the City of Trenton and the use of the proceeds from the sale of water except to retire the Dade County water district certificates.
The intervenor prayed that his objections be sustained, and that confirmation and validation of the City of Trenton certificates and the security for the payment thereof be denied. The City of Trenton demurred, both generally and specially, to the intervention of Cason Nichols, as amended, and the court sustained the general demurrer and struck the objections. Other interventions were filed, but contained no allegations which would give this court jurisdiction.
1. It is always the duty of this court, with or without motion of a party, to consider the question of its jurisdiction in all cases in which there may be any doubt as to the existence of such jurisdiction; and the present case is one calling for such inquiry. Dobbs v. Federal Deposit Ins. Corp., 187 Ga. 569
(1 S.E.2d 672); McDowell v. McDowell, 194 Ga. 88
(20 S.E.2d 602); Brockett v. Maxwell, 200 Ga. 38
(36 S.E.2d 638). The question of this court's jurisdiction of the instant case depends on whether the intervention, as amended, of Cason Nichols involves a construction of the due-process clauses of the Constitutions of the State of Georgia (Code, § 2-103), or of the United States (Code, § 1-815), and whether the constitutionality of any law of the State of Georgia is drawn in question; there being in the record no other ground upon which such jurisdiction could be thought to rest.
2. A proceeding to confirm and validate revenue-anticipation certificates is one which falls within the jurisdiction of the Court of Appeals and not the Supreme Court. Code (Ann. Supp.), §§ 2-3704, 2-3708; Veal v. Deepstep Consolidated School Dist.,34 Ga. App. 67 (128 S.E. 223); Daniel v. Claxton, 35 Ga. App. 107
(132 S.E. 411). But when a question involves a construction of the Constitution or when the constitutionality of a statute is brought in question, the Supreme Court has jurisdiction. Gracen v. Savannah, 142 Ga. 141
(82 S.E. 453); Stewart v. County of Bacon, 148 Ga. 105
(95 S.E. 983); Crawley v. State, 150 Ga. 86 (102 S.E. 898);Stephens v. School Dist. No. 3, Habersham County, 154 Ga. 275
(114 S.E. 197); Jennings v. New Bronwood School Dist.,156 Ga. 15 (118 S.E. 560). The Supreme Court shall have jurisdiction "in all cases that involve the construction of the Constitution of the State of Georgia or of the United States," and "in all cases in which the constitutionality of any law of the State of Georgia or of the United States is drawn in question." Art. 6, sec. 2, par. 4, Constitution 1945; Code (Ann. Supp.), § 2-3704.
(a) "The Court of Appeals has jurisdiction to decide questions of law that involve application, in a general sense, of unquestioned and unambiguous provisions of the Constitution to a given state of facts, and that do not involve construction of some constitutional provision directly in question and doubtful either under its own terms or under the decisions of the Supreme Court of the State or *Page 245 
of the United States." Gulf Paving Co. v. Atlanta, 149 Ga. 114
(99 S.E. 374). See also Howell v. State, 153 Ga. 201
(111 S.E. 675); Thompson v. State, 174 Ga. 804
(164 S.E. 202); United States Fidelity  Guaranty Co. v. Edmondson,174 Ga. 895 (164 S.E. 773); Dennard v. State, 176 Ga. 361
(168 S.E. 310); Maner v. Dykes, 183 Ga. 118
(187 S.E. 669); Hodges v. Seaboard Savings  Loan Association,186 Ga. 845 (199 S.E. 105); Head v. Edgar Bros. Co., 187 Ga. 409
(200 S.E. 792); White v. Georgia, 196 Ga. 847 (27 S.E.2d 695);Thompson v. State,. 199 Ga. 250 (33 S.E.2d 903). Jurisdiction is not vested in the Supreme Court because it is contended that a judgment of confirmation and validation would be contrary to some provision of the Constitution. Head v.Edgar Bros. Co., supra. The present case does not present any question of construction, but involves only the applicability of plain and unambiguous constitutional provisions to a given state of facts. This alone does not confer jurisdiction on the Supreme Court.
(b) Are the allegations of the intervention sufficient to draw into question the constitutionality of the act of 1937 (Ga. L. 1937, p. 761), or any part thereof? We think not. It is a grave matter for this court to set aside an act of the co-ordinate legislative department, and vague and indefinite attacks can not be considered. Savannah, Florida  Western Ry. Co. v. Hardin,110 Ga. 433 (35 S.E. 681); Stegall v. Southwest Ga. HousingAuthority, 197 Ga. 571, 582 (30 S.E.2d 196). In order to raise a question as to the constitutionality of a "law," at least three things must always be shown: (1) The statute or part of a statute which the party would challenge must be stated, or pointed out with fair precision; (2) the provision of the Constitution which it is claimed has been violated must be clearly designated; and (3) it must be shown wherein the statute violated such constitutional provision. Abel v. State,190 Ga. 651 (10 S.E.2d 198); Emerson v. Southwest GeorgiaRegional Housing Authority, 196 Ga. 675 (27 S.E.2d 334);Stegall v. Southwest Ga. Housing Authority, supra. Nothing less would comport with the requirement of good pleading, to the effect that a party shall plainly, fully, and distinctly set forth his cause of action, legal or equitable. Code, § 81-101. Measured by the foregoing rules, how stands the present case? We do not apprehend that able counsel intended for one moment to draw in question the *Page 246 
act of 1937 in its entirety, because if successful in that stroke he would annihilate the act as a whole, thus destroying the very foundation of his client's property rights. In cases where a statute was challenged as a whole, it has been said by this court that the attack would necessarily fail unless the statute was invalid in every part for some reason alleged. Atlantic LoanCo. v. Peterson, 181 Ga. 266 (182 S.E. 15); Miller v.Head, 186 Ga. 694 (198 S.E. 680); Stegall v. SouthwestGa. Housing Authority, supra. The certificates purchased were issued under authority only of the act, and their validity depends upon the act being upheld. Properly construed, the attack is this: That the intervenor was under contract to purchase from Dade County certain water-revenue-anticipation certificates issued under authority of the act of 1937, which had been confirmed and validated and which were to be paid from proceeds derived from a sale of water in the district. An attempt was being made by the City of Trenton to create a separate water district within the Dade County water district and to issue certificates to be paid from proceeds derived from the sale of water therein. If this was permitted, the result would be to lessen the security that he had for the payment of his certificates, and thus impair the obligation of his contract, and in so far as the act of 1937 might permit this to be done it is unconstitutional. The attack as thus made on the constitutionality of the act fails to point out what part of the act might permit this to be done. So far as the pleadings here show, the act may expressly authorize or prohibit this. The attack also fails to clearly and distinctly show wherein the act violates the provision of the Constitution which prohibits the passage of any legislation impairing the obligations of a contract. An allegation that the act of 1937 is unconstitutional in so far as it might permit the creation of a water district by the City of Trenton and the issue of certificates to be paid from proceeds derived from a sale of water therein, and thus destroy existing contractual rights now held by intervenor, is too vague and indefinite to draw into question the constitutionality of the act of 1937 or any part thereof. Payne
v. State, 180 Ga. 609 (180 S.E. 130); Keeney v. State,182 Ga. 523 (186 S.E. 561); Turner v. State, 185 Ga. 432
(195 S.E. 431); Campbell v. Atlanta Coach Co., 186 Ga. 77
(196 S.E. 769); Sanders v. State, 186 Ga. 335
(197 S.E. 801); City of Waycross v. Harrell, 186 Ga. 833
(199 S.E. 119). *Page 247 
3. The plaintiff in error contends that jurisdiction is vested in this court by the Code, § 87-304, which provides that a dissatisfied party in a proceeding to confirm and validate bonds may bring the case to the Supreme Court for review. Conceding that the section did contain such a provision for review by this court, but not holding that it had the effect of doing so, the contention is incorrect because the provision of that section relating to review by the Supreme Court was superseded by the Constitution of 1945, defining the jurisdiction respectively of the Supreme Court and the Court of Appeals. Code (Ann. Supp.), §§ 2-3704, 2-3708; Payne v. State, supra.
From what has been said, it follows that the Court of Appeals and not this court has jurisdiction.
Transferred to the Court of Appeals. All the Justices concur.